Case 1:20-cr-00188-JSR Document 91 Filed 08/31/20 Page 1 of 45

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

oo eee x
UNITED STATES OF AMERICA, :
20-cr-188 (JSR)
-y-
OPINION & ORDER
RUBEN WEIGAND and HAMID AKHAVAN,
Defendants.
et wan wos wet ous wus ie wae van ey ee x

JED S. RAKOFF, U.S.B.d,

The indictment in this case alleges that many banks will not
approve credit or debit card transactions for marijuana, even in
states like California and Oregon that permit the sale of
marijuana. To circumvent this, the indictment continues,
defendants Ruben Weigand and Hamid Akhavan, and their
co-conspirators, set up fictitious businesses, complete with
websites and bank accounts, purporting to sell a host of products
like dog food, face creams, green tea, carbonated drinks, and
diving gear. They then used these fictitious businesses to fool
the banks into approving marijuana credit card and debit card sales
by disguising those transactions as sales of dog food and the like.
As a result, the banks processed more than $100 million worth of
transactions that they otherwise would have declined. Based on
these allegations, the indictment here charges defendants with one

count of conspiracy to commit bank fraud.

 
Case 1:20-cr-00188-JSR Document 91 Filed 08/31/20 Page 2 of 45

Now before the Court are defendants’ motions to dismiss the
indictment, defendant Weigand’s motion to suppress electronically
stored information that the Government seized from him pursuant to
a warrant, and defendants’ motions to compel certain discovery and
to set pretrial disclosure deadlines.

i. MOTIONS TO DISMISS

 

The following allegations are drawn from the third
superseding indictment. The Court accepts them as true for the
purpose of evaluating the defendants’ motions to dismiss. See

United States v. Goldberg, 756 F.2d 949, 950 (2d Cir. 1985).

 

A credit or debit card transaction generally involves five
parties: the cardholder (here, the would-be purchaser of
marijuana), the merchant (here, the company created by the
defendants and their co-conspirators to facilitate these card
purchases, which the indictment calls the “Online Marijuana
Marketplace Company”), and three intermediaries -- the issuing
bank, which issued the customer's card and funds the transaction;
the processor (e.g., Visa), which processes the transaction; and
the merchant’s bank, also known as the “acquiring bank,” which
receives funds on behalf of the merchant. S3 Superseding
Indictment, ECF No, 16, at 9917, 10. Tn the usual course, a
cardholder initiates a transaction by seeking to purchase a good
or service (such as here the purchase of marijuana) and offering

a credit or debit card for payment. The merchant then transmits

 
Case 1:20-cr-00188-JSR Document 91 Filed 08/31/20 Page 3 of 45

information regarding the transaction to the processor (or to the
merchant’s bank, which then passes the information on to the
processor). This information includes a “merchant category code”
(“MCC”) that describes the category of product or service that the
merchant sells. Id. @i 9, 10(d). The processor then passes that
information to the issuing bank, which approves or declines the
transaction. If the issuing bank approves the transaction, it
then transfers funds through the processor to the merchant’s bank.
Finally, the merchant’s bank credits the merchant’s account, and
the issuing bank debits the cardholder’s account (in the case of
a debit card) or includes the charge on the cardholder’s next
monthly statement (in the case of a credit card). See id. F 1ll(b)-
(d).

The indictment alleges that Weigand and Akhavan were
principals of the Online Marijuana Marketplace Company, which
developed a website and mobile phone application through which
customers in California and Oregon could order marijuana for
delivery from a variety of retailers. Id. @1 1, 3. Many United
States banks, however, are unwilling to process card payments for
marijuana. Id. 97 1. Weigand and Akhavan, together with unnamed
co-conspirators, allegedly deceived United States banks by
disguising the transactions to create the false appearance that

they were unrelated to the purchase of marijuana. Id. GU 1, 16.

 
Case 1:20-cr-00188-JSR Document 91 Filed 08/31/20 Page 4 of 45

To do so, Weigand, Akhavan, and their co-conspirators,
beginning in 2016 and continuing through mid-2019, created a series
of fictitious merchants purportedly selling legitimate goods
including dog products, diving gear, carbonated drinks, green tea,
and face creams (the “Phony Merchants”). The conspirators created
web pages to support the illusion that the Phony Merchants had
actually sold these legitimate goods. fId, @ 13. The conspirators
worked with third-party payment processors and offshore merchant
banks to create bank accounts for these Phony Merchants. Id. 1
12, The conspirators then applied incorrect MCCs to the Online
Marijuana Marketplace Company transactions in order to create the
appearance that the transactions were related to the Phony
Merchants and unrelated to marijuana. Id. @ 14.

When cardholders attempted to use credit and debit cards to
make marijuana purchases from the Online Marijuana Marketplace
Company, the issuing banks, at least some of which were federally
insured financial institutions, were tricked into believing that
cardholders were purchasing legitimate goods from the Phony
Merchants. Id. The issuing banks approved over $100 million of
credit and debit card transactions for the Online Marijuana
Marketplace Company. Id.

The defendants move to dismiss on three grounds: (A) failure
to state an offense; (B) lack of specificity; and (C) violation of

a provision in an appropriations act (the “Rohrabacher-Farr

 
Case 1:20-cr-00188-JSR Document 91 Filed 08/31/20 Page 5 of 45

Amendment”) that bars certain Government interference with state
medical marijuana regimes. The Court addresses each argument in
turn.

A. Failure to State an Offense

 

Defendants argue that the indictment does not state an
offense, for three reasons:

(1) Bank fraud requires an intent to infiict harm on a
financial institution, and the indictment does not allege
such an intent. Weigand Mem. in Support of Mot. to
Dismiss, ECF No. 62 (“Weigand MTD”), at 12; Akhavan Mem.
in Support of Mot. to Dismiss, ECF No. 72 (“Akhavan MTD”),
at 15,

(2) Bank fraud requires an intent to deceive a financial
institution, but the indictment does not allege that
defendants made misrepresentations to issuing banks -- only
to intermediaries who are not protected by the bank fraud
statute. Weigand MTD 15, 17.

(3) Because at least some issuing banks were willing to process
marijuana-related transactions, the indictment does not
allege that defendants’ misrepresentations were material.
Akhavan MTD 15; Weigand MTD 17.

As noted, this indictment charges defendants with conspiracy
to commit bank fraud in violation of 18 U.S.C. § 1349. Bank fraud,

in turn, is defined in 18 U.S.C. § 1344, as follows:

 
Case 1:20-cr-00188-JSR Document 91 Filed 08/31/20 Page 6 of 45

Whoever knowingly executes, or attempts to execute, a
scheme or artifice -

(1} to defraud a financial institution; or

(2) to obtain any of the moneys, funds, credits, assets,
securities, or other property owned by, or under the
custody or control of, a financial institution, by means
of false or fraudulent pretenses, representations, or
promises; shall be fined not more than $1,000,000 or
imprisoned not more than 30 years, or both.}

The bank fraud statute was modeled on prior federal fraud statutes,
as a Senate Judiciary Committee Report explained:
The proposed bank fraud statute is modeled on the present
wire and mail fraud statutes which have been construed
by the courts to reach a wide range of fraudulent
activity. Like these existing fraud statutes, the
proposed bank fraud offense proscribes the conduct of
executing or attempting to execute “a scheme or artifice
to defraud” or to take the property of another “by means
of false or fraudulent pretenses, representations, or
promises.”
S. Rep. No. 98-225, at 378 (1983); see also 18 U.S.C. § 1341
(prohibiting “any scheme or artifice to defraud, or for obtaining
money or property by means of false or fraudulent pretenses,
representations, or promises,” using the mail); 18 U.S.C. § 1343
(same, but with use of interstate wire connection).

To state a violation of Subsection i of the bank fraud

statute, the Government must allege that a defendant (1} knowingly

 

1 “Financial institution” is defined at 18 U.S.c. § 20. The
indictment here alleges that at least some of the issuing banks
were financial institutions, as defined in Section 20. ECF No,
16, 97 16.

 
Case 1:20-cr-00188-JSR Document 91 Filed 08/31/20 Page 7 of 45

executed (or attempted to execute} a scheme to “deceive [a] bank, “2
(2) through “a misrepresentation or concealment of material fact,”
and (3) to “deprive it of something of value,” with (4) “knowledge
that [the defendant] would likely harm the bank’s property
interest” through the scheme.°

To state a violation of Subsection 2, the Government must
allege that a defendant (1) knowingly executed (or attempted to
execute) a scheme through which the defendant *intend[ed] to obtain
any of the moneys .. . or other property owned by, or under the
custody or control of, a financial institution” (hereinafter,
“bank property”);°® (2) the defendant made “false or fraudulent
pretenses, representations, or promises” (hereinafter,

“misrepresentations”) ;’ (3) the misrepresentations were “of

 

2 Shaw v. United States, 137 S. Ct. 462, 469 (2016).

 

3 Neder v. United States, 527 U.S. 1, 3 (1999).

 

4 Shaw, 137 S. Ct. at 469. Although the defendant must intend,
through the scheme, to “deprive jthe bank] of something of value,”
id. at 465, the Government need not ailege “that the defendant
intend that the victim bank suffer [financial] harm,” id. at 467.
A scheme to obtain an accountholder’s funds is enough, because the
bank holds a property interest in those funds, akin to a bailee.
Id, at 465.

 

5 Id. at 468.

6 Zoughrin, 573 U.S. at 355-56. Whiie the indictment must allege
an intent to obtain bank property, it need not allege that “the
defendant’s scheme created a risk of financial loss to the bank.”
Id. at 366 n.9.

7 Td.

 
Case 1:20-cr-00188-JSR Document 91 Filed 08/31/20 Page 8 of 45

material fact”;% and (4) the misrepresentations were the “means”
by which defendant intended to obtain the bank property.®

a. Intent to Harm Banks

 

Defendants first argue that the indictment must be dismissed
for failure to allege an intent to harm. Defendants cite United
States v. Miller, a Ninth Circuit opinion that reasoned in the
case of wire fraud (but with frequent analogies to bank fraud)
that “the government can[not] escape the burden of showing that
some actual harm or injury [to the victim’s money or property] was

contemplated by the schemer.” United States v. Miller, 953 F.3d

 

1095, 1102 (9th Cir. 2020) (quoting United States v. Regent office

 

Supply Co., 421 F.2d 1174, 1180 (2d Cir. 1970)) (alterations in
original). Defendants argue that here the indictment does not
adeguately allege an intent to impose “actual harm or injury” on
the issuing banks.

In describing the sorts of harm that qualify, however, the

Supreme Court’s bank fraud precedents cast a wide net. The

 

8 Neder v. United States, 527 U.S. 1, 3 (1999).

 

9 Loughrin, 573 U.S. at 355-56. The Supreme Court has described
this as “a relational component: The criminal must acquire (or
attempt to acquire) bank property ‘by means off the
misrepresentation . . . such that the connection between the two
is something more than oblique, indirect, and incidental.” Id. at
362-63. In other words, the Government must prove that “the
defendant's false statement [was] the mechanism naturally inducing
a bank (or custodian of bank property) to part with money in its
control.” Id. at 363.

 

 
Case 1:20-cr-00188-JSR Document 91 Filed 08/31/20 Page 9 of 45

indictment need only describe a scheme to “deprive [the bank] of
something of value,” Shaw, 137 S. Ct. at 469 (Subsection 1) or to
“obtain any of the moneys . . . or other property owned by, or
under the custody or control of, a financial institution,”
Loughrin, 573 U.S. at 356 (Subsection 2). The Government need not
allege harm in the sense of pecuniary loss. Shaw, 137 S. Ct. at
467 (Subsection 1 “demands neither a showing of ultimate financial
loss nor a showing of intent to cause financial loss.”); Loughrin,
573 U.S. at 366 n.9 (Subsection 2 does not “require[} the
Government to prove that the defendant’s scheme created a risk of
financial loss to the bank” or that it, in fact, caused “damage.”).

Here, the indictment alleges that the defendants intended to
deprive the issuing banks of certain property rights and to obtain
money that was under bank control. The particular property rights
at issue depend on whether the transaction was by credit card or
by debit card. When a customer bought marijuana with a credit
card, the issuing bank transferred to the merchant bank its own
funds, which it had offered on credit to the cardholder. When a
customer used a debit card, the bank transferred funds from the
cardholder’s account. Nevertheless, even in the debit card
situation, the bank, prior to the transfer, held a property
interest in those funds. “When a customer deposits funds,”
sometimes the bank “becomes the owner of the funds,” subject to a

customer’s right to withdraw them; other times “the bank merely

 
Case 1:20-cr-00188-JSR Document 91 Filed 08/31/20 Page 10 of 45

assumes possession.” Shaw, 137 5S. Ct. at 466. But even in the
latter case, “the bank is like a bailee” and has a “special
qualified property” right in the account. Id. (quoting 2 W.
Blackstone, Commentaries on the Laws of England 452-454 (1766)}.
Because the indictment alleges that defendants intended to
deprive the bank of these property rights, and to thereby obtain
money under bank control, it sufficiently describes an intent to
cause harm under both subsections of the bank fraud statute.

Compare United States v. Lebedev, 932 F.3d 40, 49 (2d Cir. 2019),

 

cert. denied sub nom. Gross v. United States, 140 S. Ct. 1224

 

(2020) (upholding bank fraud conviction where “there was
sufficient evidence showing that [defendant ] caused false
information to be sent to financial institutions to disguise the
fact that their customers were transacting business with” an
unlicensed Bitcoin exchange, “with the intent to obtain funds under
those institutions’ custody and control”). Id. at 49.

To be sure, the foregoing analysis applies Supreme Court
precedent. Defendants argue that more is required in the Second
Circuit because a panel of the Second Circuit stated in 2012 that
bank fraud requires an “intent to victimize the institution by

exposing it to actual or potential loss.” See United States v.

 

Nkansah, 699 F.3d 743, 748 (2d Cir. 2012) (emphasis supplied;
internal quotation marks omitted). Last year, the Second Circuit

declined to address whether this holding survives Shaw and

10

 
Case 1:20-cr-00188-JSR Document 91 Filed 08/31/20 Page 11 of 45

Loughrin. See United States v. Calderon, 944 F.3d 72, 92 (2d Cir.

 

 

2019) (“We need not wade into this debate.”).

Though apparently an open question, this is not a difficult
one. Four years after the Second Circuit’s decision in Nkansah,
the Supreme Court, as already noted, explicitly held that
Subsection 1 requires no “intent to cause financial loss,” Shaw,
137 S. Ct. at 467, and that Subsection 2 requires no “risk of
financial loss to the bank,” Loughrin, 573 U.S. at 366 n.9. Thus,
Nkansah is no longer good law.

Finally, defendants argue that even if the indictment alleges
some intent to harm banks, the only bank property at stake here is
the “ethereal right to accurate information,” Weigand Reply in
Support of Def’ts’ Mots., ECF No. 82, at 7, which, they argue,
cannot support a fraud conviction in light of the Supreme Court’s

recent decision in Kelly v. United States, 140 S. Ct. 1565 (2020).

 

This argument, however, stretches Kelly to the breaking point.
Kelly concerned public corruption and the misuse of regulatory
power, holding that an allegedly corrupt state regulatory
decision, where no actual money changed hands, did not have as its
object money or property. See Kelly, 140 U.S. at 1572-74.

Here, by contrast, the object of the alleged scheme was money.
The banks had concrete property interests in these funds, and
defendants allegedly sought to injure those interests by causing

the banks to relinquish those funds through deception. Thus, the

11

 
Case 1:20-cr-00188-JSR Document 91 Filed 08/31/20 Page 12 of 45

indictment sufficiently stated an intent to harm their property
interests; whether the banks also had a “right to accurate
information,” “ethereal” or otherwise, is beside the point.

2. Intent to Deceive Banks

 

Defendants next argue that the Government has not alleged an
intent to deceive a covered financial institution (i.e., an issuing
bank). Rather, “the Government has maintained that the defendants
were responsible for sending ‘application packages’ and
credentials for the Phony Merchants only to offshore banks and
payment processors,” which, unlike the issuing banks are not
protected by the bank fraud statute. Weigand MTD 18. In other
words, the defendants argue that the defendants’ deception must be
aimed at the same banks as are harmed.

If the charge here were wire fraud, the argument would be
meritless. Five courts of appeals, including the Second Circuit,
have concluded that the wire fraud statute does not “require
convergence between the parties intended to be deceived and those
whose property is sought in a fraudulent scheme.” United States
vy. Greenberg, 835 F.3d 295, 306-07 (2d Cir. 2016); see id. n.16
(collecting cases).

But when it comes to the bank fraud statute, it appears that
the Supreme Court does require such convergence. With respect to
Subsection 1, this is because of how the Court construes the

statutory language itself. Specifically, Subsection 1 of the bank

i2

 
Case 1:20-cr-00188-JSR Document 91 Filed 08/31/20 Page 13 of 45

fraud statute requires that a defendant attempt both to “deceive
fa] bank” and to “deprive it of something of value.” Shaw, 137 5S.
Ce. at 469, But because the bank fraud statute only applies to
federally insured banks, the Supreme Court has also read a similar
requirement into Subsection 2 for “federalism-related reasons”:
the indictment must allege “some real connection to a federally
insured bank -- namely, [that] a false statement will naturally
reach such a bank (or a custodian of the bank’s property}.”
Loughrin, 573 U.S. at 365 n.8.19

But though this convergence is required, here it is met.
Specifically, the indictment states that the purpose of
defendants’ alleged misrepresentations to merchant’s banks (e@.g.,
inaccurate MCCs) was so that those misrepresentations would be
conveyed to the issuing banks to secure their approval for the
transactions. Accordingly, the indictment adequately alleges an
intent to deceive financial institutions protected by the bank

fraud statute.

 

10 For example, building upon an example offered by the Supreme
Court in Loughrin, imagine a con artist who tricks a tourist into
buying a handbag, claiming it is a designer brand. The tourist
purchases the handbag by credit card, The MCC and other
transaction information transmitted to the bank were accurate.
Was this bank fraud? The con artist intended to obtain bank
property, and he made misrepresentations of material fact.
However, the con artist never intended that the misrepresentations
would be conveyed to the financial institution. Therefore, the
con artist did not deceive a bank (Subsection 1), and the
misrepresentation was not the means by which the defendant obtained
bank funds (Subsection 2). This was fraud, but not bank fraud.

13

 
Case 1:20-cr-00188-JSR Document 91 Filed 08/31/20 Page 14 of 45

3. Materiality

Finally, defendants argue that the indictment does not state
a claim because it does not allege that the misrepresentations
were material. This borders on the frivolous. The indictment
explicitly alleges that many issuing banks would not have approved
these transactions if they had known marijuana was involved. ECF
No. 16, 9 1.

Defendants, however, argue that the indictment implicitly
concedes that at least some issuing banks would have been willing
to process marijuana transactions, even if they knew they were
marijuana transactions. But the Government need not allege that
every issuing bank would have refused to process accurately
presented marijuana transactions. The indictment alleges that
many banks would have refused to do so; that is enough, at this
stage, to allege materiality.

For the foregoing reasons, the indictment states a claim for

conspiracy to commit bank fraud.

B. Lack of Specificity

 

Defendants next move to dismiss the indictment for lack of
specificity. On rare occasion, “specification of how a particular
element of criminal charge will be met... is of such importance
to the fairness of the proceeding that it must be spelied out in
the indictment,” but otherwise, “[a]n indictment is sufficient if

it ‘first, contains the elements of the offense charged and fairly

14

 
Case 1:20-cr-00188-JSR Document 91 Filed 08/31/20 Page 15 of 45

informs a defendant of the charge against which he must defend,
and, second, enables him to plead an acquittal or conviction in
bar of future prosecutions for the same offense.’” United States
v. Stringer, 730 F.3d 120, 125-26, 124 (2d Cir. 2013) (quoting

Hamling v. United States, 418 U.S. 87, 117 (1974)).

 

Defendants argue that the indictment is insufficiently
specific for four reasons:

(1) The indictment does not point to a specific transaction or
misrepresentation. Akhavan MTD 10.

(2) Although, as this Court ordered, the Government provided a
biil of particulars identifying the alleged co-
conspirators, it offered “nothing concrete . . . to
indicate how the alleged scheme was executed, or by whom

[nor] who the intended victim supposedly was.” Id.
at 12.

(3) The indictment essentially charges a violation of bank
policy, without citing any specific policy. Id. at 9-10.

(4) The indictment does not allege that the misrepresentations

induced the issuing banks to enter into the transactions,

i.e., that they otherwise would have been unwilling to do

 

so. Id.
These arguments are largely an attempt to relitigate the

motion for a bill of particulars. See Order, ECF No. 38, at 5-7

{finding that, apart from the request for a list of

15

 
Case 1:20-cr-00188-JSR Document 91 Filed 08/31/20 Page 16 of 45

co-conspirators, the information sought by defendants was either

“irrelevant” or “merely evidentiary detail at best,” and the

indictment was “sufficiently clear” without such information). In
particular, the Court has already considered and denied
defendants’ request (1) for information regarding specific

transactions and misrepresentations and (2) for more concrete
information regarding how the alleged scheme was executed and
against which victims. The Court adheres to its prior holding
that the indictment is sufficiently particular on these points.

The Court likewise rejects the arguments that the indictment
(3} does not cite a bank policy and {4) does not show that the
misrepresentations induced the banks to act. The indictment
alleges that the defendants “engaged in a scheme to deceive United
States banks .. . into processing... payments for the purchase
and delivery of marijuana products.” ECF No. 16, q{ 1. «It asserts
that “many United States banks are unwilling to process payments
involving the purchase of marijuana, [so] the Online Marijuana
Marketplace Company used fraudulent methods to avoid these
restrictions.” Id. This sufficiently describes the applicable
bank policies and alleges that the defendants intended deception
to be the means by which they obtained bank property.

In short, the Court reaffirms its prior holding that “[t]he
indictment’s description of the Transaction Laundering Scheme

is sufficiently clear for the defendants to understand the

16

 
Case 1:20-cr-00188-JSR Document 91 Filed 08/31/20 Page 17 of 45

crime with which the Government accuses them . . . thus placing
the defendants on notice and allowing them to prepare a defense.”
Order, ECF No. 40, at 6.

Cc. The Rohrabacher-Farr Amendment

 

Finally, defendants argue that the indictment must be
dismissed because it contravenes an appropriations law binding on
the Government. The Rohrabacher-Farr Amendment was originally
passed by Congress as part of the omnibus spending bill in 2014;
it has been renewed each year since. The amendment provides, in
part, that “[nlone of the funds made available in this .. . Act
to the Department of Justice may be used, with respect to
California [or] Oregon . . ., to prevent such States from
implementing their own State laws that authorize the use,
distribution, possession, or cultivation of medical marijuana.”
Consolidated Appropriations Act of 2020, Pub. L. No. 116-93, §
531, 133 Stat. 2317 (2019).

Defendants contend that “the Government is attempting to
prosecute Defendants for a federal felony based only on conduct
that is legal under applicable state law,” thus violating the
Rohrabacher-Farr Amendment. Akhavan MTD 24, The defendants rely

on United States v. McIntosh, 833 F.3d 1163 (9th Cir. 2016). In

 

Mcintosh, the Ninth Circuit considered appeals by defendants
charged with marijuana-related violations of the Controlled

Substances Act. The Ninth Circuit opined that the Rohrabacher-Farr

17

 
Case 1:20-cr-00188-JSR Document 91 Filed 08/31/20 Page 18 of 45

Amendment limited the DOJ’s authority to bring such prosecutions.
“By officially permitting certain [marijuana-related] conduct,
state law provides for non-prosecution of individuals who engage
in such conduct. If the federal government prosecutes such
individuals, it has prevented the state from giving practical
effect to its law providing for non-prosecution of individuals who
engage in the permitted conduct,” which would violate the
Rohrabacher-Farr Amendment. Id. at 1176-77. Therefore, the Ninth
Circuit remanded to the district courts, holding that “[il]& DoT
wishes to continue these prosecutions, Appellants are entitled to
evidentiary hearings to determine whether their conduct was
completely authorized by state law, by which we mean that they
strictly complied with all relevant conditions imposed by state
law on the use, distribution, possession, and cultivation of
medical marijuana.” Id. at 1179.

If the defendants here had been similarly charged with
violations of the Controlled Substances Act, then this Court would
need to consider whether to adopt the reasoning of McIntosh. But
the indictment in this case does not charge defendants for behavior
that is legal under state medical marijuana laws. It charges
conspiracy to commit bank fraud. The Rohrabacher-Farr Amendment
does not condone bank fraud by a medical marijuana dispensary any
more than it condones murder, robbery, or assault. Thus, the

Amendment, and McIntosh, are inapplicable on their own terms. See

18

 
Case 1:20-cr-00188-JSR Document 91 Filed 08/31/20 Page 19 of 45

id. at 1178 (noting that the Rohrabacher-Farr Amendment does not

 

apply when the DOJ “prosecutes individuals who engage in conduct
unauthorized under state medical marijuana laws”).

For these reasons, the motions to dismiss are denied.

II. MOTION TO SUPPRESS

Defendant Weigand moves to suppress evidence seized from two
cell phones and a computer that were in his possession when he was
arrested on March 9, 2020 at Los Angeles International Airport.
The evidence was seized pursuant to a warrant, which a magistrate
judge issued upon the application of FBI Special Agent Matthew
Mahaffey.

The affidavit supporting the request for a warrant, which is
filed at ECF No. 70-1 (“Aff.”), describes the alleged scheme,
attaches the indictment, and identifies the three devices. It
avers that Weigand, Akhavan, a cooperating witness, and various
co-conspirators communicated using an end-to-end encrypted
messaging application (i.e., an application that transmits
communications in such a way that they can only be read on the
sender’s and the recipient's devices and cannot be intercepted by
wiretap or by a search warrant served on an internet service
provider). It also avers that the alleged conspirators used an
encrypted email service.

The affidavit includes several quotations from a group

message on the encrypted messaging application involving the

19

 
Case 1:20-cr-00188-JSR Document 91 Filed 08/31/20 Page 20 of 45

cooperating witness on April 27, 2018. Other participants in the
group message had the display names “Ray CE” and “Ruben Weigand”;
according to the cooperating witness, these were Akhavan and
Weigand, respectively. The conversation appears to relate to the
setup of a Phony Merchant, including what prices the conspirators
should display on the fictitious website to ensure that they
matched the price points for the associated marijuana
transactions. Later that day, the conversation turned to the brief
descriptions of goods and services that issuing banks would list
on customers’ monthly credit card statements. id. @ 17 (c).

According to the affidavit, the conspirators continued
communicating about the alleged scheme using the encrypted
messaging application until at least late 2018 and using encrypted
emails until May 2019. Weigand also spoke with the cooperating
witness about the alleged scheme by phone in May 2019 ({i.e.,
approximately ten months before Weigand was arrested).

The affidavit does not link criminal activity specifically to
the three seized devices. However, it says generally that “[llike
individuals engaged in any other kind of activity, individuals who
engage in fraud and money laundering offenses store records
relating to their illegal activity and to persons involved with
them in that activity on electronic devices such as the Subject

Devices.” Id. 4 22. The affidavit further states that files can

20

 
Case 1:20-cr-00188-JSR Document 91 Filed 08/31/20 Page 21 of 45

be recovered “months or even years after they have been created or
saved.” Id. @7 23.

AN

The affidavit sought permission for, if necessary, up to “a
complete review of all the [electronically stored information]

from the Subject Device to locate all data responsive to the

warrant.” Id. 4 27. The agent sought to seize certain specific,
detailed categories of information. Warrant, ECF No. 70-2, at
5-6.

A magistrate judge approved the warrant. To be lawful under

the Constitution, a search warrant must, inter alia, set forth
evidence establishing probable cause to believe a crime has been
committed and that evidence of that crime can be found in what is
to be searched. “[P]robable cause is a fluid concept -- turning
on the assessment of probabilities in particular factual contexts
-- not readily, or even usefully, reduced to a neat set of legal

rules.” Illinois v. Gates, 462 U.S. 213, 232 (1983). it is a

 

“flexible, common-sense standard,” Texas v. Brown, 460 U.S. 7309,
742 (1983), which requires a case-by-case analysis of the totality

of the circumstances, see Illinois v. Gates, 462 U.S. at 230. A

 

nexus with criminal activity may be supported by a “reasonable
inference from the facts presented based on common sense and

experience.” United States v. Singh, 390 F.3d 168, 182 (2d Cir.

 

2004) (internal quotation marks omitted).

21

 
Case 1:20-cr-00188-JSR Document 91 Filed 08/31/20 Page 22 of 45

Even where probable cause is established, still “those

searches deemed necessary should be as limited as possible,” as to

 

avoid a “‘general warrant,’” i.e., “a general, exploratory
rummaging in a person’s belongings.” Coolidge v. New Hampshire,
403 U.S. 443, 467 (1971) (citations omitted). At the same time,

some threshold review may be necessary to identify items of
potential relevance because courts recognize “the reality that few
people keep documents of their criminal transactions in a folder

marked ‘drug records.’” United States v. Riley, 906 F.2d 841, 845

 

(2d Cir. 1990).
“To be sufficiently particular under the Fourth Amendment, a

warrant must satisfy three requirements.” United States v.

 

Ulbricht, 858 F.3d 71, 99 (2d Cir. 2017), overruled on other

 

grounds by Carpenter v. United States, 138 S. Ct. 2206 (2018). It

 

must (i) “identify the specific offense for which the police have

established probable cause,” (ii) “describe the place to be
searched,” and (iii) “specify the items to be seized by their
relation to designated crimes.” Id. (internal citation omitted).

“The Fourth Amendment does not require a perfect description of
the data to be searched and seized.” Id. at 100. Indeed, “[s]earch
warrants covering digital data may contain some ambiguity.” Id.
(internal citation omitted).

In light of these standards, Weigand argues that the

Government lacked probable cause because (A) the affidavit did not

22

 
Case 1:20-cr-00188-JSR Document 91 Filed 08/31/20 Page 23 of 45

link his specific devices to the crime, Weigand Mem. in Suppert of
Mot. to Suppress (“Weigand MTS”) 9; and (B) any probable cause
that might have previously existed had dissipated due to the
passage of time between any alleged conspiratorial communications
and the seizure, id. at 11. He also argues that the warrant was
(C} overbroad because it permitted a preliminary search of the
entire device, id. at 14; and (D} insufficiently particular
because it failed to provide meaningful guidelines for what could
be seized, id. at 15, The Court addresses each of these arguments
in turn.

A. Probable Cause

Under the circumstances of this case, there was probable cause
to believe the devices would contain evidence of crime. The
charged crime is conspiracy, 50 communications with alleged
co-conspirators, and evidence regarding such communications, is
directly relevant. The affidavit tends to show that Weigand used
encrypted messaging applications and encrypted email to
communicate about the alleged conspiracy. There was, thus,
probable cause to believe that evidence of the alleged conspiracy
would have existed on electronic devices possessed by Weigand.

Weigand offers no persuasive support for his claim that the

Government must show that these very devices were used for

 

conspiratorial communications in order to justify searching them.

Weigand, in addition to citing to cases where warrants were

23

 
Case 1:20-cr-00188-JSR Document 91 Filed 08/31/20 Page 24 of 45

lawfully issued, cites to one case where a warrant was held
improper because “two-year-old evidence of participation in a
heroin mill, not at the dwelling to be searched, is stale and

cannot support a search warrant.” United States v. Thomas, 757

 

F.2d 1359, 1368 (2d Cir. 1985). That case is inapposite because
in Thomas, the Court knew that the location to be searched was
different from the location of the old heroin mill. Weigand does
not allege that the Government knew that Weigand had, for instance,
changed phones between the end of the period of the charged
conspiracy and his arrest.

Therefore, there was probable cause to search these devices
-- at least at some point in time.

B. Passage of Time

Weigand correctly points out that there is a further question
whether probable cause continued to exist despite the passage of
time. The Government's general allegations that files can be
stored for a long time and can be recovered even after deletion
are insufficient to provide probable cause that evidence would
remain on Weigand’s devices indefinitely. That said, the affidavit
quotes messages on the encrypted messaging application that were
less than 2 years old at the time of seizure and avers that there
were pertinent encrypted emails and phone calls within one year
prior to the time of seizure. Under these circumstances, there

was still probable cause to believe evidence would remain.

24

 
Case 1:20-cr-00188-JSR Document 91 Filed 08/31/20 Page 25 of 45

Cc. Preliminary Search of the Entire Device

Weigand argues that “the [w]arrant made no attempt to Limit
the scope of the search to the locations on the [d]evices for which
there was probable cause to believe evidence of the scheme could
be found.” Weigand MTS 13. The Government responds that it must
be able to conduct a preliminary search of the entire device to
determine which folders, files, and data may be responsive to the
warrant. This is analogous to “searches for papers,” for which
“it is certain that some innocuous documents will be examined, at

least cursorily, in order to determine whether they are, in fact,

among those papers authorized to be seized.” Andresen v. Maryland,

 

427 U.S. 463, 482 n.11 (1976).

Here, the magistrate judge reasonably issued a warrant that
permitted threshold searches across the entirety of the devices.
Weigand objects that such a review is overbroad given the terabytes
of at-issue data and the fact that the devices clearly contained
legitimate files of a personal nature, such as folders full of

f

family photos and a folder labeled “private.” To be sure, the
Government must reasonably limit its initial search, taking only
those steps reasonably necessary to identify documents responsive
to the warrant. This is what the affidavit requested and what the
warrant permitted. See Aff. FI 25-27.

Weigand is incorrect to suggest that the review must be

limited from the outset to folders that, on their face, might be

25

 
Case 1:20-cr-00188-JSR Document 91 Filed 08/31/20 Page 26 of 45

linked to crime. “[Flew people keep documents of their criminal
transactions in a folder marked ‘drug records.’” United States v.
Riley, 906 F.2d 841, 845 (2d Cir. 1990).

D. Particularity of the Specific Requests

 

Finally, Weigand argues that the designated categories of
material to be seized are overbroad and insufficiently particular.

The Court considers the evidence by category:

* Evidence of the subject offenses and evidence concerning
co-conspirators, their relationships and relationships
with victims, and transactions between co-conspirators and
victims, from 2016-2019. Warrant, ECE No. 70-2, at 5-6,
2-5.

This evidence goes to the heart of the alleged scheme; its

relevance is readily apparent.

* “Evidence concerning the location of other evidence of the
Subject Offenses,” such as social media accounts, and
passwords for those accounts. Id, #6-7.

Because this evidence would show the location of other
evidence, it is relevant. Of course, the warrant did not authorize
the Government to search other locations (e.g., Weigand’s social
media accounts) or to use passwords that it found. Rather, if the
Government uncovered evidence showing that further evidence of the
conspiracy existed in other locations, it would then need to seek
another warrant.

e “[E]lvidence concerning the identity or location of the

owner or user of the Subject Device” and concerning
subscriber information for the devices. tid, #1, 9.

26

 
Case 1:20-cr-00188-JSR Document 91 Filed 08/31/20 Page 27 of 45

Evidence that Weigand owns and used these devices is of
threshold relevance in determining whether other documents on the
device could be evidence that he committed a crime. Subscriber
information is relevant to ascertaining identity. Billing records
and location information are also independently relevant, as the
affidavit establishes probable cause to believe that Weigand spoke

with co-conspirators by phone and met with them in person.

e “[N}on-content transactional information of activity of
the Subject Devices, including log files, dates, times,
methods of connecting, ports, dial-ups, and/or locations.”
Id. #8.

Setting aside location information (which is already included
in the previous category), this category of data is somewhat broad.
At oral argument, the Court inquired as to its relevance. The
Government explained that this data is relevant, especially when
viewed in conjunction with other information, to establish that
Weigand was the specific individual who used the device at a
particular time. For example, if the method of connection was
through Weigand’s home internet, then that would help to
corroborate the location of the device and Weigand’s contro] over
it. The Court finds this justification sufficient and concludes
that this category of data was described with enough particularity.

For these reasons, the warrant was supported by probable

cause; probable cause remained despite the passage of time; a

limited, preliminary review of the entire device was justified;

27

 

 
Case 1:20-cr-00188-JSR Document 91 Filed 08/31/20 Page 28 of 45

and the specific categories of information to be seized were
described with enough particularity. The motion to suppress is,
therefore, denied.1!t

III. MOTIONS TO COMPEL DISCOVERY AND SET PRETRIAL DISCLOSURE

DEADLINES

Defendants move to compel production of many categories of
materials under Rule 16, move to compel production of a narrow set
of materials under Brady, and request that the Court set pretrial
disclosure deadlines for exhibits, witness lists, and Jencks Act
and Giglio material.

A. Rule 16 Discovery

Defendants first seek to compel discovery under Federal Rule
of Criminal Procedure 16.

Under Federal Rule of Criminal Procedure 16(a) (1) (E), the
Government generally must provide an item to the defendant “if the
item is within the’ government’s possession, custody, or control
and: {i) the item is material to preparing the defense; {ii} the
government intends to use the item in its case-in-chief at trial;
or (iii) the item was obtained from or belongs to the defendant.”

Describing which items are “material to preparing a defense,” the

 

11 The Government further argues that courts “accord[] great
deference to a magistrate’s determination,” and that, here, the
officers acted in good faith reliance on the warrant. See United
States v. Leon, 468 U.S. 897, 914 (1984). Because the Court finds
that the warrant was properly issued, the Court need not reach

these arguments.

28

 
Case 1:20-cr-00188-JSR Document 91 Filed 08/31/20 Page 29 of 45

Second Circuit has said that “f[e]vidence is material if it could
be used to counter the government’s case or to bolster a defense,”

United States v. Ulbricht, 858 F.3d 71, 109 (2d Cir, 2017)

 

(internal citations omitted), or if it would “Te]nable[] the
defendant significantly to alter the quantum of proof in his

favor,” United States v. Maniktala, 934 F.2d 25, 29 (2d Cir. 1991).

 

“The defendant must make a prima facie showing of materiality and
must offer more than the conclusory allegation that the requested
evidence is material. The Government should interpret the language
of Rule 16 broadly to ensure fairness to the defendant.” United
States v. Urena, 989 F. Supp. 2d 253, 261 (S5.D.N.Y. 2013) (internal
citations omitted).

However, Rule 16(a)(2) excludes from the scope of Rule
16(a) (1) (BE) “reports, memoranda, or other internal government
documents made by an attorney for the government or other
government agent in connection with investigating or prosecuting
the case,” as well as “statements made by prospective government
witnesses except as provided in 18 U.S.C. § 3500,” also known as
the Jencks Act. Grand jury materials are also excluded from the
scope of Rule 16(a) (1) (BE), per Rule 16(a) (3).

In their instant motion, defendants cast a wide net, seeking
eleven categories of material under Federal Rule of Criminal

Procedure 16. The Court addresses them in turn.

29

 
Case 1:20-cr-00188-JSR Document 91 Filed 08/31/20 Page 30 of 45

1. Tssuing Bank and Credit Card Company Policies
The defendants argue that marijuana-reiated policies of
issuing banks and credit card companies are “essential” because
“without the actual policies, there is no way to drill into
questions of, e.g., notice to the Defendants, reliance by a given
bank, or how any of the thousands of transactions even connects to
any supposed policy or fraud surrounding same.” Akhavan Reply in
Support of Def’ts’ Mots., ECF No. 83 (“Akhavan Reply”), at 9.
However, “the Government represents that it has produced all
‘documents and objects’ within the meaning of Rule 16{a) (1) (EB) in
its possession, custody, and control that bear on these issues.”
Gov't Response in Opp. to Def’ts’ Mots., ECF No. 79 (“Opp.”), at
32, In addition, it represents that “to the extent that the
Government comes into possession of additional documents or
objects reflecting Issuing Bank and/or Credit Card Company
policies pertaining to marijuana transactions and related
information, the Government will produce them,” unless the
material is not discoverable under Rule 16(a) (2). Id. at 33.
In light of the Government's representations, this request is
denied as moot.

2. Evidence Regarding MCCs

 

Defendants seek “evidence linking merchant banks, their
contracts with the Credit Card Companies and/or issuing banks,

their communications with Defendants, the assignment of MCCs to

30

 
Case 1:20-cr-00188-JSR Document 91 Filed 08/31/20 Page 31 of 45

transactions, or those MCCs being the cause of the transactions
going through.” Akhavan Mem. in Support of Mot. to Compel
(“Akhavan MTC”) 5, Defendants argue that MCCs are “fundamental to
the Government's proof” because they are “the mechanism for the
fraud alleged.” Id. The Government counters that the defendants’
focus on MCCs is misplaced because the creation of the Phony
Merchants, and not the false MCCs, was the “primary method” by
which defendants perpetrated the alleged fraud. Opp. 33.
Therefore, “contracts and rules from banks and/or other entities
reflecting the particulars of how those codes are typically
assigned and who assigns them are not material.” Id, at 34. The
Government contends that what matters here is that “Akhavan and
others directed others to apply incorrect MCC codes (however
generated) to transactions conducted through the Online Marijuana

Marketplace Company.” Id. at 34.

The Court agrees with defendants. The Government concedes
that some “electronic communications on this issue . . . bear on
the defendants’ intent,” and the Government says it intends to

prove that “Akhavan and others directed others to apply incorrect
MCC codes .. . to transactions.” Id. at 34. Therefore, evidence
regarding how MCCs are typically assigned, when, and by whom is
relevant. Because the Government seeks to demonstrate that MCCs
“and thus fraudulent, manner, the

were assigned in an “incorrect,

defense should receive discovery into the baseline for how a

31

 
Case 1:20-cr-00188-JSR Document 91 Filed 08/31/20 Page 32 of 45

“correct” MCC would be assigned. And because the government seeks
to demonstrate that Akhavan directed others to assign incorrect
McCs, it is relevant who assigns MCCs and how they do so.

The Government is ordered to promptly produce to defendants
documents in its possession, custody, or control concerning (1)
communications between merchant banks, credit card companies, or
issuing banks on the one hand and the defendants on the other hand;
(2) how, when, and by whom MCCs are assigned to transactions; and
(3) the relation MCCs have, if any, to the approval or rejection
of transactions.

3, Transaction Analyses

 

The defendants claim that the Government must produce
analyses linking specific credit card transactions by the Online
Marijuana Marketplace Company to specific issuing banks with
anti-marijuana policies. These analyses are necessary, defendants
contend, to demonstrate materiality and intent to deceive.

The Government responds that this is an indictment for
conspiracy, and no actual victim is needed. Therefore, the
Government need not offer such an analysis and such an analysis is
not material. Nevertheless, “[t]he Government notes that to the
extent it generates any transactional analyses that it intends to
use in its case-in-chief, it will produce such analyses pursuant

to Rule 16 or, if warranted, as an expert disclosure.” Opp. 36.

32

 
Case 1:20-cr-00188-JSR Document 91 Filed 08/31/20 Page 33 of 45

The Government is correct that it need not offer evidence of
particular transactions to prove conspiracy. If it chooses to
generate such analyses and intends to use them in its case in
chief, then it must produce them, as it has represented that it
will. This request is denied.

4. information Regarding the Proportion of
Transactions Involving Medical Marijuana

 

 

The Government told the defendants by letter that the Online
Marijuana Marketplace Company represented, through its attorneys,
that before January 2018 100% of the transactions at issue were
for medical marijuana; by contrast, after January 2018 99% of the
transactions were for recreational marijuana. ECF No. 74-1, Ex.
A. Defendants argue that the calculation is “fallacious” and is
attributable to skimpy record-keeping at dispensaries. Akhavan
Reply 8. They move to compel additional information on this point,
arguing that it is essential, primarily given their argument under
the Rohrabacher-Farr Amendment.

However, as noted above, the Rohrabacher-Farr Amendment is
inapplicable. See supra Section I.C. The relative proportions of
medical and recreational marijuana might be reievant for other
reasons -- e.g., in showing materiality, if issuing banks would be
willing to process medical marijuana transactions but not
recreational ones. Still, the Government has represented that it

has no additional information to support or refute the company's

33

 
Case 1:20-cr-00188-JSR Document 91 Filed 08/31/20 Page 34 of 45

purported figures, and that it will share additional information
if it acquires any. The request is therefore denied as moot.

5, Data Collected During Searches and Seizures

 

The Government concedes that it possesses data collected
ducing searches and seizures (specifically, the contents of two
cell phones belonging to Akhavan and two cell phones and a laptop
belonging to Weigand). It says that it is conducting forensic
analyses and will produce the entirety of the analysis to the
device’s owner and the responsive documents to both defendants.

Because all parties agree that each defendant is entitled to
all date seized from him, and that each defendant is entitled to
responsive data seized from the other defendant, this request is
granted. If the Government has not already done so, it must share
the entire contents of each seized device with the device’s owner
by no later than 5:00 pm on September 2, 2020. The Government
must share responsive documents with both defendants by no later
than 5:00 pm on September 14, 2020.

6. Documents Produced by Third Parties

 

Defendants speculate that, because of the “extensive lists of
unindicted co-conspirators and potentially allegedly victimized
banks” recently disclosed, the Government may have additional
relevant material in its possession that was produced by third
parties. Akhavan MIC 17; see also Weigand Mem. in Support of Mot.

to Compel (“Weigand MTC”) 7. Defendants also point to the

34

 
Case 1:20-cr-00188-JSR Document 91 Filed 08/31/20 Page 35 of 45

Government’s June 22, 2020 letter, which disclosed exculpatory
information shared with the Government by attorneys for the Online
Marijuana Marketplace Company. ECF No. 74-1.

The Government responds simply that “[t]he Government has
produced documents gathered from third parties consistent with the
obligations imposed by Rule 16,” Opp. 38-39, and that defendants’
speculation that the Government possesses other such material
discoverable under Rule 16 is unfounded. Because the Government
represents that it has produced all Rule 16-responsive documents
in this category, and defendants have offered no persuasive reason
to doubt this representation, this request is denied as moot.

7. Taint Protocols

As noted above, the Government seized evidence from the
defendants. That evidence contains potentially privileged
material, so defendants request that the Court order the Government
to produce the protocols it has applied to ensure that the
prosecution team is not exposed to privileged material. Akhavan
MTC 17; see also Weigand MTC 8,

The defendants cite no authority for this request.!? The
Government notes that the “prosecution team is attuned to avoiding

exposure to privileged information” and represents that the

 

12 The Government cites one district court case in Texas denying a
similar request, United States v. Sledziejowski, 2018 WL 2288962
*9 (N.D. Tex. May 18, 2018), on the basis that there was no
authority to support such a request.

 

35

 
Case 1:20-cr-00188-JSR Document 91 Filed 08/31/20 Page 36 of 45

Government “will take action to ensure that the prosecution team
is screened from reviewing privileged communications that may be
contained on [Weigand’s] devices,” now that Weigand has provided
a list of attorneys. Opp. 39-40. The Government also requested
that Akhavan provide a list of his attorneys, but he had not yet
done so when the Government filed its Opposition. Id. at 40 n.19.

Under these circumstances, a “taint protocol” is not
“material to preparing the defense” and so does not fall within
the scope of Rule 16(a) (1) (E). Accordingly, this request is
denied. Further, to facilitate the application of a proper
privilege screen by the Government, Akhavan, if he has not yet
done so, must produce to the Government by no later than 5:00 pm
on September 2, 2020, a list of attorneys with whom he may have
engaged in attorney-client privileged communications.

8. Grand Jury Materials

 

Defendants contend that “the Indictment is subject to
dismissal for lack of specificity,” so “the grand jury testimony
should be disclosed.” Akhavan MTC 18.

In order to pierce the veil of secrecy provided by Federal
Rule of Criminal Procedure 6(e), a defendant must demonstrate a

“particularized need” for disclosure. United States v. Procter &

 

Gamble Co., 356 U.S. 677, 683 (1958). Usually, this means
“specific allegations of government misconduct.” United States v.

Torres, 901 F.2d 205, 233 (2d Cir, 1990), abrogated on other

 

36

 
Case 1:20-cr-00188-JSR Document 91 Filed 08/31/20 Page 37 of 45

grounds as recognized by United States v. Marcus, 628 F.3d 36, 41
(2d Cir. 2010). Defendants do not come close to meeting the high
burden for overcoming grand jury secrecy, and so the request is
denied.

9a. Memoranda Regarding Witnesses’ Statements ox
Interviews

 

Defendants request memoranda regarding interviews or meetings
in this matter to aid in the preparation of their defense. Akhavan
MTC 21; see also Weigand MTC 10. Defendants invoke Rule 16 but do
not otherwise provide any authority for this request, which the
Covernment calls an “end-run around the Jencks Act.” Opp. 36-37.
The Government cites circuit precedent that production of
non-exculpatory Jencks Act statements cannot be ordered prior to

witness testimony, United States v. Coppa, 267 F.3d 132, 145 (2d

 

Cir. 2001), and that the Jencks Act “is the exclusive vehicle for
disclosure of statements made by government witnesses,” United

States v. Percevault, 490 F.2d 126, 131 (2d Cir. 1974). The

 

Government represents that it will produce the requested documents
as needed to satisfy its obligations under Brady, Giglio, and the
Jencks Act. Opp. 37.

The Court addresses Giglio and Jencks Act materials
separately below, but insofar as defendants seek this material

under Rule 16, the Government is correct that the request is barred

37

 
Case 1:20-cr-00188-JSR Document 91 Filed 08/31/20 Page 38 of 45

both by Rule 16(a)(2) and by the Jencks Act. This request is
therefore denied.

10. Defendants’ and Co-Conspirators’ Statements

 

Defendants seek their statements, and the statements of
alleged co-conspirators, under Rule 16(a) {1} (A)-{(C) & (EB). The
Government responds that it has provided each defendant with his
own statements in accordance with Rule 16(a) (1) (A) & (B). To that
extent, therefore, this request is denied as moot,

Insofar as defendants seek each other’s statements and other
co-conspirators’ statements, they invoke Rule i6(a) (1) (C) & (E).
Rule 16(a)(1)(C) on its face applies only to “organizational
defendants,” and not to defendants who were merely part of
organizations; thus, it does not apply here. Rule 16(a) (1) (EB), as
described above, imposes a broad set of disclosure obligations on
the Government. Defendants offer no specific rationale for the
request for co-conspirators’ statements under Rule 16{a}(1} (BE),
and the Government offers no response. Therefore, the request is
denied without prejudice.

11. Criminal History Records

 

Defendants request criminal history records under Rule 16(d).
The Government represents that it has produced any such record
“that it knows exists within its possession, custody, and control.”

Opp. 41. Therefore, this request is denied as moot.

38

 
Case 1:20-cr-00188-JSR Document 91 Filed 08/31/20 Page 39 of 45

Be Brady Material

Defendants next seek materials, and a representation that the
Government will comply with its obligations, under Brady v.
Maryland, 373 U.S. 83, 87 (1963).

Under Brady and its progeny, the Government has a
constitutional duty “to disclose favorable evidence to the accused
where such evidence is ‘material’ either to guilt or to

punishment.” United States v. Coppa, 267 F.3d 132, 139 (2d Cir.

 

2001) (quoting Brady v. Maryland, 373 U.S. 83, 87 (1963)).

 

Favorable evidence can be exculpatory or impeaching. Strickler v.

Greene, 527 U.S. 263, 281-82 (1999); see United States v. Mahaffy,

 

693 F.3d 113, 131 (2d Cir. 2012) (“Aside from exculpatory material,
Brady applies to material that would be an effective tool in
disciplining witnesses during cross-examination.”) (quotations
marks and citation omitted). Fyvidence becomes material if “the
favorable evidence could reasonably be taken to put the whole case
in such a different light as to undermine confidence in the

verdict.” Youngblood v. West Virginia, 547 U.S. 867, 870 (2006)

 

(quotation marks omitted).
“Unlike Rule 16 and the Jencks Act . . . Brady is not a
discovery rule, but a rule of fairness and minimum prosecutorial

obligation ... .” United States v. Maniktala, 934 F.2d 25, 28

 

(2d Cir. 1991) (internal quotation marks omitted). Accordingly,

the purpose of Brady “is not to provide the defendant with complete

39

 
Case 1:20-cr-00188-JSR Document 91 Filed 08/31/20 Page 40 of 45

disclosure of all evidence in the government’s file which might
conceivably assist him in the preparation of his defense, but to
assure that he will not be denied access to exculpatory information
known to the government but unknown to him.” United States v.
Ruggiero, 472 F.2d 599 (2d Cir. 1973).

In Light of these standards, the Government sent a letter on
June 22, 2020, ECF No. 74-1, which disclosed to defendants that
the attorneys for the Online Marijuana Marketplace Company made
several xvepresentations to the Government. One of those
representations was that those attorneys learned from employee
interviews that Akhavan purportedly said during a March 2018
meeting, inter alia, that he does not “miscode,” that he would use
the closest MCC code for what is being processed, and that to that
end he considered using a medical-related MCC code for marijuana
transactions. Id. Defendants argue that this was important and
potentiaily exculpatory information and that the Government
provided only a terse summary. Weigand MTc 9-10.

The Government appears to believe that Brady might not have
required this disclosure, claiming that the Government sent the
June 22, 2020 letter “out of an abundance of caution.” Opp. 43
n.20. The Government did not otherwise respond to defendants’
arguments that, under Brady, it must produce more detailed
information regarding the Online Marijuana Marketplace Company’s

attorney proffer, nor did the Government represent that it does

40

 
Case 1:20-cr-00188-JSR Document 91 Filed 08/31/20 Page 41 of 45

not have such information. This Court’s Individual Rules require
disclosure of Brady materials within two weeks of the indictment
being filed or, for Brady material that becomes known to the
Government following filing of the indictment, “within two weeks
of when it becomes known and, in any event, no later than four
weeks prior to any trial or guilty plea.” Hon. Jed S. Rakoff,
Individual Rules of Practice, R. 13. Therefore, the deadline to
disclose additional Brady materials received from. the Online
Marijuana Marketplace Company’s attorney proffer, if the
Government has additional such materials, has long since passed.

The Government does argue, generally, that it has
acknowledged its Brady obligations and its intent to abide by them.
Opp. 43. It claims that, “[b]Jecause the defendants have made no
particularized showing that materials exist requiring disclosure,
the Government need do no more than acknowledge its obligations.”
Id. at 44. The Government cites cases in which a court denied
specific discovery requests under Brady in light of an apparent
good-faith representation from the Government that it recognized
and intended to comply with its Brady obligations.

If the Government had represented that it recognized its Brady
obligations with respect to information regarding the March 2018
meeting, has complied with them, and has no further exculpatory
information on the topic, then the Court would take no action.

But it has not done so. Instead, the Government's brief seems to

41.

 
Case 1:20-cr-00188-JSR Document 91 Filed 08/31/20 Page 42 of 45

imply that the Government believes it had discretion regarding
whether to share the information it received from the Online
Marijuana Marketplace Company attorneys regarding the March 2018
meeting. If so, the Government misapprehends its Brady
obligations. The statements attributed to Akhavan during the March
2018 meeting, as described in the June 22, 2020 letter, speak
directly to significant components of the Government’s theory of
the case and are potentially exculpatory.

Therefore, the Court orders that, to the extent the
Government has additional details regarding that meeting --
including, without limitation, the meetings’ attendees -- the
Government must immediately produce that information in accordance
with its Brady obligations.

Cc. Pretrial Disclosure Schedule

 

Finally, defendants request a pretrial disclosure schedule.
(The trial of this case is currently set for December 1, 2020.)
The Court sets the following schedule:
e Giglio material: the Government must comply with the
Court's Individual Rules, which will be strictly enforced
{(i.e., Giglio material (with certain specified exceptions)
must be disclosed four weeks prior to trial).
e Exhibits and witness lists: exhibits and witness lists must
be disclosed four weeks prior to trial, with subsequent

changes permitted for good cause.

42

 
Case 1:20-cr-00188-JSR Document 91 Filed 08/31/20 Page 43 of 45

e Jencks Act material: all parties agree that the Court lacks
power to compel pretrial production of Jencks Act material.
That said, the Government has an obligation to disciose
Jencks Act material to defendants sufficiently early to
permit them to adequately prepare a defense. As noted at
oral argument, the Court would be pleased if the Government
produces this material four weeks in advance of trial,
which the Court strongly believes would be in the interests
of justice in this case. The Court directs the Government
to file a notice on the docket by no later than 5:00 pm on
September 4, 2020 stating by when it will disclose Jencks
Act material.

The Court determines that the foregoing schedule offers
adequate time for defendants to prepare a defense. Insofar as
defendants’ motion requests earlier disclosures, it is denied.

* * *

For the foregoing reasons, defendants’ motions to dismiss are
denied and Weigand’s motion to suppress is denied. Defendants’
motion to compel and to set pretrial disclosure deadlines is
denied, except as foliows:

e The Government is ordered to promptly produce to
defendants documents concerning (1) communications
between merchant banks, credit card companies, or

issuing banks on the one hand and the defendants on the

43

 
Case 1:20-cr-00188-JSR Document 91 Filed 08/31/20 Page 44 of 45

other hand; (2) how, when, and by whom MCCs are assigned
to transactions; and (3) the relation MCCs have, if any,
to the approval or rejection of transactions.

* For devices seized from defendants, if the Government
has not already done so, it must share the entire
contents of each device with the device’s owner by no
later than 5:00 pm on September 2, 2020. The Government
must share responsive documents with both defendants by

no later than 5:00 pm on September 14, 2020.

* If he has not yet done so, Akhavan must produce to the
Government a list of attorneys with whom he may have
engaged in attorney-client privileged communications
during the relevant period by no later than 5:00 pm on
September 2, 2020.

e The Court orders that, to the extent the Government has
additional details regarding the March 2018 meeting
described in the Government’s June 22, 2020 letter -~
including, withovt limitation, the meetings’ attendees
-- the Government must immediately produce that
information in accordance with its Brady obligations.

e Giglio materials must be produced as specified in the

Court’s Individual Rules.

44

 
Case 1:20-cr-00188-JSR Document 91 Filed 08/31/20 Page 45 of 45

e Exhibits and witness lists must be produced four weeks
prior to trial, subject to change for good cause.

* The Government must file a notice on the docket by no
later than 5:00 pm on September 4, 2020 stating by when

it will disclose Jencks Act material.

 

SO ORDERED.
Dated: New York, NY QA ( (ku
August 31, 2020 JEP S. RAKOFF, U?8.D.J.

 

45

 
